Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 1 of 41 PageID #: 2382




                                     INSTRUCTION NO.        L
        Members of the Jury Panel, if you have a cell phone, PDA, Blackberry, smart phone,
iPhone and any other wireless communication device with you, please take it out now and tum
it off. Do not tum it to vibration or silent; power it down. [During jury selection, you must
leave it off.] (Pause for thirty seconds to allow them to comply, then tell them the following:)
        If you are selected as a juror, (briefly advise jurors of your court's rules concerning
cellphones, cameras and any recording devices).
        I understand you may want to tell your family, close friends, and other people about
your participation in this trial so that you can explain when you are required to be in court, and
you should warn them not to ask you about this case, tell you anything they know or think they
know about it, or discuss this case in your presence. You must not post any information on a
social network, or communicate with anyone, about the parties, witnesses, participants, claims,
evidence, or anything else related to this case, or tell anyone anything about the jury's
deliberations in this case until after I accept your verdict or until I give you specific permission
to do so. If you discuss the case with someone other than the other jurors during deliberations,
you may be influenced in your verdict by their opinions. That would not be fair to the parties
and it would result in a verdict that is not based on the evidence and the law.
        While you are in the courthouse and until you are discharged in this case, do not provide
any information to anyone by any means about this case. Thus, for example, do not talk face-
to-face or use any electronic device or media, such as the telephone, a cell or smart phone,
camera, recording device, Blackberry, PDA, computer, the Internet, any Internet service, any
text or instant messaging service, any Internet chat room, blog, or Website such as Facebook,
MySpace, YouTube, or Twitter, or in any other way communicate to anyone any information
about this case until I accept your verdict or until you have been excused as a juror.
       Do not do any research -- on the Internet, in libraries, in the newspapers, or in any
other way -- or make any investigation about this case on your own. Do not visit or view any
place discussed in this case and do not use Internet programs or other device to search for or
to view any place discussed in the testimony. Also, do not research any information about
this case, the law, or the people involved, including the parties, the witnesses, the lawyers, or
the judge until you have been excused as jurors.
       The parties have a right to have this case decided only on evidence they know about and
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 2 of 41 PageID #: 2383




that has been presented here in court. If you do some research or investigation or experiment
that we don't know about, then your verdict may be influenced by inaccurate, incomplete or
misleading information that has not been tested by the trial process, including the oath to tell
the truth and by cross-examination. Each of the parties is entitled to a fair trial, rendered by an
impartial jury, and you must conduct yourself so as to maintain the integrity of the trial process.
If you decide a case based on information not presented in court, you will have denied the
parties a fair trial in accordance with the rules of this country and you will have done an
injustice. It is very important that you abide by these rules. Failure to follow these instructions
could result in the case having to be retried.
       Are there any of you who cannot or will not abide by these rules concerning
communication with others during this trial?


Tendered by Plaintiff
Eighth Circuit Model Jury Instructions, 1.1
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 3 of 41 PageID #: 2384




                                    INSTRUCTION NO.        ;t_,
       During this recess, and every other recess, do not discuss this case among yourselves or
with anyone else, including your family and friends. Do not allow anyone to discuss the case
with you or within your hearing. "Do not discuss" also means do not e-mail, send text
messages, blog or engage in any other form of written, oral or electronic communication, as I
instructed you before.
       Do not read any newspaper or other written account, watch any televised account, or
listen to any radio program on the subject of this trial. Do not conduct any Internet research or
consult with any other sources about this case, the people involved in the case, or its general
subject matter. You must keep your mind open and free of outside information. Only in this
way will you be able to decide the case fairly based solely on the evidence and my instructions
on the law. If you decide this case on anything else, you will have done an injustice. It is very
important that you follow these instructions.
       I may not repeat these things to you before every recess, but keep them in mind until you
are discharged.


Tendered by Plaintiff
Eighth Circuit Model Jury Instructions, 1.2
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 4 of 41 PageID #: 2385




                                      INSTRUCTION NO.        5
         Ladies and Gentlemen: I am now going to give you some instructions about this case
and about your duties as jurors. At the end of the trial I will give you more instructions. I may
also give you instructions during the trial. All instructions - those I give you now and those I
give you later - whether they are in writing or given to you orally- are equally important and
you must follow them all.
         [Describe your court's policy, such as "You must leave your cell phone, PDA, smart
phone, iPhone, tablet computer, and any other wireless communication devices] in the jury room
during the trial and may only use them during breaks. However, you are not allowed to have
those devices in the jury room during your deliberations. You may give them to the court
security officer for safekeeping just before you start to deliberate. They will be returned to you
when your deliberations are complete."]
         This is a civil case brought by the five plaintiffs against the defendant, Lincoln County.
Plaintiffs were participants in the Lincoln County Drug Court. Four were sexually assaulted.
One was terminated from the Drug Court. The Plaintiffs seek to hold Lincoln County liable for
those events. It will be your duty to decide from the evidence whether the plaintiffs are entitled
to a verdict against the defendant.
         Your duty is to decide what the facts are from the evidence. You are allowed to consider
the evidence in the light of your own observations and experiences.        After you have decided
what the facts are, you will have to apply those facts to the law, which I give you in these and in
my other instructions.   That is how you will reach your verdict. Only you will decide what the
facts are.   However, you must follow my instructions, whether you agree with them or not. You
have taken an oath to follow the law that I give you in my instructions.
        In deciding what the facts are, you may have to decide what testimony you believe and
what testimony you do not believe. You may believe all of what a witness says, or only part of
it, or none of it.
        In deciding what testimony to believe, consider the witnesses' intelligence, their
opportunity to have seen or heard the things they testify about, their memories, any reasons
they might have to testify a certain way, how they act while testifying, whether they said
something different at another time, whether their testimony is generally reasonable, and how
consistent their testimony is with other evidence that you believe.
        Do not let sympathy, or your own likes or dislikes, influence you. The law requires
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 5 of 41 PageID #: 2386




you to come to a just verdict based only on the evidence, your common sense, and the law that
I give you in my instructions, and nothing else.
       Nothing I say or do during this trial is meant to suggest what I think of the evidence or I
think your verdict should be.


Tendered by Plaintiff
Eighth Circuit Model Jury Instructions, 1.3
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 6 of 41 PageID #: 2387




                                       INSTRUCTION NO.       --¥-
        When I use the word "evidence," I mean the testimony of witnesses; documents and
other things I receive as exhibits; facts that I tell you the parties have agreed are true; and any
other facts that I tell you to accept as true.
Some things are not evidence. I will tell you now what is not evidence:
        1. Lawyers' statements, arguments, questions, and comments are not evidence.
        2. Documents or other things that might be in court or talked about, but that I do not
receive as exhibits, are not evidence.
        3.   Objections are not evidence. Lawyers have a right - and sometimes a duty-to
object when they believe something should not be a part of the trial. Do not be influenced one
way or the other by objections. Ifl sustain a lawyer's objection to a question or an exhibit, that
means the law does not allow you to consider that information. When that happens, you have to
ignore the question or the exhibit, and you must not try to guess what the information might
have been.
        4. Testimony and exhibits that I strike from the record, or tell you to disregard, are
not evidence, and you must not consider them.
        5. Anything you see or hear about this case outside the courtroom is not evidence, and
you must not consider it unless I specifically tell you otherwise.
       Also, I might tell you that you can consider a piece of evidence for one purpose only,
and not for any other purpose. If that happens, I will tell you what purpose you can consider
the evidence for and what you are not allowed to consider it for. You need to pay close
attention when I give an instruction about evidence that you can consider for only certain
purposes, because you might not have that instruction in writing later in the jury room.
       Some of you may have heard the terms "direct evidence" and "circumstantial evidence."
You should not be concerned with those terms, since the law makes no distinction between the
weight to be given to direct and circumstantial evidence.


Tendered by Plaintiff
Eighth Circuit Model Jury Instructions, 1.4
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 7 of 41 PageID #: 2388




                                    INSTRUCTION NO.       'i!r_
       During the trial, I will sometimes need to talk privately with the lawyers. I may talk with
them here at the bench while you are in the courtroom, or I may call a recess and let you leave the
courtroom while I talk with the lawyers. Either way, please understand that while you are
waiting, we are working. We have these conferences to make sure that the trial is proceeding
according to the law and to avoid confusion or mistakes. We will do what we can to limit the
number of these conferences and to keep them as short as possible.


Tendered by Plaintiff
Eighth Circuit Model Jury Instructions, 1.5
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 8 of 41 PageID #: 2389




                                    INSTRUCTION NO. (
       At the end of the trial, you will have to make your decision based on what you recall of the
evidence. You will not have a written copy of the testimony to refer to. Because of this, you have
to pay close attention to the testimony and other evidence as it is presented here in the courtroom.




Tendered by Plaintiff
Eighth Circuit Model Jury Instructions, 1.6
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 9 of 41 PageID #: 2390



                                       INSTRUCTION NO.         -::iz
         Jurors, to make sure this trial is fair to [both/all] parties, you must follow these rules.
         First, do not talk or communicate among yourselves about this case, or about anyone
 involved with it, until the end of the case when you go to the jury room to consider your verdict.
        Second, do not talk with anyone else about this case, or about anyone involved with it,
 until the trial has ended and you have been discharged as jurors.
         Third, when you are outside the courtroom, do not let anyone tell you anything about
 the case, or about anyone involved with it until the trial has ended and your verdict has been
 accepted by me. If someone tries to talk to you about the case during the trial, please report it
 to the bailiff or the deputy clerk. (Describe person.)
        Fourth, during the trial, do not talk with or speak to any of the parties, lawyers, or
witnesses in this case - not even to pass the time of day. It is important not only that you do
justice in this case, but also that you act accordingly. If a person from one side of the lawsuit
sees you talking to a person from the other side - even if it is just about the weather - that
might raise a suspicion about your fairness. So, when the lawyers, parties and witnesses do not
speak to you in the halls, on the elevator or the like, you must understand that they are not
being rude. They know they are not supposed to talk to you while the trial is going on, and
they are just following the rules.
        Fifth, you may need to tell your family, close friends, and other people that you are a
part of this trial. You can tell them when you have to be in court, and you can warn them not to
ask you about this case, tell you anything they know or think they know about this case, or talk
about this case in front of you. But, you must not communicate with anyone or post
information about the parties, witnesses, participants, claims, evidence, or anything else related
to this case. You must not tell anyone anything about the jury's deliberations in this case until
after I accept your verdict or until I give you specific permission to do so. If you talk about the
case with someone besides the other jurors during deliberations, it looks as if you might already
have decided the case or that you might be influenced in your verdict by their opinions. That
would not be fair to the parties, and it might result in the verdict being thrown out and the case
having to be tried over again. During the trial, while you are in the courthouse and after you
leave for the day, do not give any information to anyone, by any means, about this case.
       For example, do not talk face-to-face or use any electronic device, such as a telephone,
cell phone, smart phone, Blackberry, PDA, computer, or computer-like device. Likewise, do
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 10 of 41 PageID #: 2391



 not use the Internet or any Internet service; do not text or send instant messages; do not go on
 an Internet chat room, blog, or other websites such as Facebook, MySpace, YouTube, or
 Twitter. In other words, do not communicate with anyone about this case - except for the
 other jurors during deliberations - until I accept your verdict.
         Sixth, do not do any research -- on the Internet, in libraries, newspapers, or otherwise -
 and do not investigate this case on your own. Do not visit or view any place discussed in this
 case, and do not use the Internet or other means to search for or view any place discussed in
 the testimony. Also, do not look up any information about this case, the law, or the people
 involved, including the parties, the witnesses, the lawyers, or me.
        Seventh, do not read any news stories or Internet articles or blogs that are about the case,
 or about anyone involved with it. Do not listen to any radio or television reports about the case
 or about anyone involved with it. I do not know whether there will be news reports about this
 case, but ifthere are, you might accidentally find yourself reading or listening to something
 about the case. If you want, you can have someone clip out any stories and set them aside to
 give to you after the trial is over. I can assure you, however, that by the time you have heard all
 the evidence in this case, you will know what you need to return a just verdict.
        The parties have a right to have you decide their case based only on evidence admitted
 here in court. If you research, investigate, or experiment on your own, or get information from
 other sources, your verdict might be influenced by inaccurate, incomplete, or misleading
 information. Witnesses here in court take an oath to tell the truth, and the accuracy of their
 testimony is tested through cross-examination. All of the parties are entitled to a fair trial and an
 impartial jury, and you have to conduct yourselves in a way that assures the integrity of the trial
 process. If you decide a case based on information not admitted in court, you will deny the
 parties a fair trial. You will deny them justice. Remember, you have taken an oath to follow
 the rules, and you must do so. If you do not, the case might have to be retried, and you could be
 held in contempt of court and possibly punished.
        Eighth, do not make up your mind during the trial about what your verdict should be.
 Keep an open mind until after you and your fellow jurors have discussed all the evidence.


 Tendered by Plaintiff
 Eighth Circuit Model Jury Instructions, 1.08
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 11 of 41 PageID #: 2392



                                     INSTRUCTION NO.:]__
        The trial will proceed in the following manner:
        First, the plaintiffs' lawyer may make an opening statement. Next, the defendant's
 lawyer may make an opening statement. An opening statement is not evidence, but it is a
 summary of the evidence the lawyers expect you will see and hear during the trial.
        After opening statements, the plaintiffs will then present evidence. The defendant's
 lawyer will have a chance to cross-examine the plaintiffs' witnesses. After the plaintiffs have
 finished presenting their case, the defendant may present evidence, and the plaintiffs' lawyer
 will have a chance to cross-examine their witnesses.
        After you have seen and heard all of the evidence from all sides, the lawyers will make
 closing arguments that summarize and interpret the evidence. Just as with opening statements,
 closing arguments are not evidence. After the closing arguments, I will instruct you further on the
 law, and you will go to the jury room to deliberate and decide on your verdict.


 Tendered by Plaintiff
 Eighth Circuit Model Jury Instructions, 1.09
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 12 of 41 PageID #: 2393



                                     INSTRUCTION NO. --'-
        Testimony will now be presented to you in the form of a deposition. A deposition is the
 recorded answers a witness made under oath to questions asked by lawyers before trial. The
 deposition testimony to be offered was recorded in writing and now will be read to you.


 Tendered by Plaintiff
 Eighth Circuit Model Jury Instructions, 2.15
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 13 of 41 PageID #: 2394




                                     INSTRUCTION NO.        _i_
         Members of the jury, the instructions I gave at the beginning of the trial and during
 the trial are still in effect. Now I am going to give you some additional instructions.
         You have to follow all of my instructions - the ones I gave you earlier, as well as those
 I give you now. Do not single out some instructions and ignore others, because they are all
 important. This is true even though I am not going to repeat some of the instructions I gave you
 at the beginning of the trial.
         You will have copies of all of the instructions] in the jury room. Remember, you have to
 follow all instructions, no matter when I give them, whether or not you have written copies.


 Tendered by Plaintiff
 Eighth Circuit Model Jury Instructions, 3 .2
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 14 of 41 PageID #: 2395




                                    INSTRUCTION      NO.~ I 0
        I have not intended to suggest what I think your verdicts should be by any of my rulings or
 comments during the trial.


 Tendered by Plaintiff
 Eighth Circuit Model Jury Instructions, 3.3
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 15 of 41 PageID #: 2396



                                     INSTRUCTION NO.         ~       { \
         In deciding what the facts are, you may have to decide what testimony you believe and
 what testimony you do not believe. You may believe all of what a witness said, or only part of
 it, or none of it.
         You may consider a witness's intelligence; the opportunity the witness had to see or
 hear the things testified about; a witness's memory, knowledge, education, and experience;
 any reasons a witness might have for testifying a certain way; how a witness acted while
 testifying; whether a witness said something different at another time; whether a witness's
 testimony sounded reasonable; and whether or to what extent a witness's testimony is
 consistent with other evidence you believe.
         In deciding whether to believe a witness, remember that people sometimes hear or see
 things differently and sometimes forget things. You will have to decide whether a contradiction
 is an innocent misrecollection, or a lapse of memory, or an intentional falsehood; that may depend
 on whether it has to do with an important fact or only a small detail.


 Tendered by Plaintiff
 Eighth Circuit Model Jury Instructions, 3.4
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 16 of 41 PageID #: 2397



                                      INSTRUCTION NO.         j      IV
        you will have to decide whether certain facts have been proved by the greater weight
 of the evidence. A fact has been proved by the greater weight of the evidence, if you find that
 it is more likely true than not true. You decide that by considering all of the evidence and
 deciding what evidence is more believable.
        You have probably heard the phrase "proof beyond a reasonable doubt." That is a stricter
 standard than "more likely true than not true." It applies in criminal cases, but not in this civil
 case; so put it out of your mind.


 Tendered by Plaintiff
 Eighth Circuit Model Jury Instructions, 3.4
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 17 of 41 PageID #: 2398



                                       INSTRUCTION NO.         £ >       j
         There are rules you must follow when you go to the jury room to deliberate and return
 with your verdict.
         First, you will select a foreperson. That person will preside over your discussions and
 speak for you here in court.
         Second, it is your duty, as jurors, to discuss this case with one another in the jury
 room. You should try to reach agreement, if you can do this without going against what you
 believe to be the truth, because all jurors have to agree on the verdict.
         Each of you must come to your own decision, but only after you have considered all
 the evidence, discussed the evidence fully with your fellow jurors, and listened to the views of
 your fellow jurors.
         Do not be afraid to change your mind if the discussion persuades you that you should.
 But, do not come to a decision just because other jurors think it is right, or just to reach a
 verdict. Remember you are not for or against any party. You are judges - judges of the facts.
 Your only job is to study the evidence and decide what is true.
         Third, if you need to communicate with me during your deliberations, send me a note
 signed by one or more of you. Give the note to the court security officer and I will answer you
 as soon as I can, either in writing or here in court. While you are deliberating, do not tell
 anyone - including me - how many jurors are voting for any side.
         Fourth, your verdict has to be based only on the evidence and on the law that I have
 given to you in my instructions. Nothing I have said or done was meant to suggest what I
 think your verdict should be. The verdict is entirely up to you.
         Finally, the verdict form is your written decision in this case. You will take this form
 to the jury room, and when you have all agreed on the verdict[ s], your foreperson will fill in the
 form[s], sign and date [it] [them], and tell the [marshal] [bailiff] [court security officer] that
 you are ready to return to the courtroom.


 Tendered by Plaintiff
 Eighth Circuit Model Jury Instructions, 3 .6
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 18 of 41 PageID #: 2399



                           INSTRUCTION NO. _ _             ~,
                                                        i _ , , , __
                                                                   .J_'-f__
                                                                     _




        Instructions _ _/_)
                         _ _ _ _ through             /{e                 and general instructions

 _ __,_/
      I
         _ _ _ through-~'~>
                          _ _ _ _ _ apply to Plaintiff Sarah Mayer's claim of violation

 of her constitutional rights. Use Verdict Form A to return your verdict on this claim.
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 19 of 41 PageID #: 2400



                                     INSTRUCTION NO.

         Plaintiff Sarah Mayers claims to have been injured as a result of Defendant Lincoln

 County's failure to properly supervise Scott Edwards as Drug Court Tracker and that this alleged

 failure may be considered the official policy of Defendant Lincoln County.

         Your verdict will be for Plaintiff Sarah Mayers and against Defendant Lincoln County

 only if you find that:

         First: The Lincoln County Sheriff, as policy maker for Defendant Lincoln County, was

 responsible for supervising Scott Edwards as Drug Court Tracker; and

        Second: Defendant Lincoln County's supervision of Scott Edwards as Drug Court

 Tracker was inadequate; and

        Third: The need for supervision by Defendant Lincoln County was so obvious, and the

 inadequacy so likely to result in the violation of Plaintiff Sarah Mayer's constitutional rights, that

 the policy maker for Defendant Lincoln County can reasonably be said to have been

 "deliberately indifferent" to the need for such supervision; and

        Fourth: The failure of Defendant Lincoln County to supervise Scott Edwards as Drug

 Court Tracker was the cause of the injuries to Plaintiff Sarah Mayers.

        If any of the above elements have not been proved by the greater weight of the evidence,

 then your verdict must be for Defendant Lincoln County, Missouri.

        The definition of "deliberate indifference" to the rights of others is the conscious or

reckless disregard of the consequences of one's acts or omissions. Deliberate indifference

 requires more than negligence or ordinary lack of due care.

Tendered by Plaintiff
Based on Eighth Circuit Model Jury Instructions 4.10 and O'Malley et al., Fed. Jury Prac &
Instructions Civil (6th ed.) § 165.27-Failure to Train.

In element second Plaintiffs have substituted for the O'Malley language "so likely to result in the
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 20 of 41 PageID #: 2401



 violation of constitutional rights'', the language "so likely to create a risk of the violations of
 constitutional rights". Plaintiffs make this substitution because of the language in Walton v.
 Dawson, 752 F.3d 1109, 1118 (8th Cir. 2014). A municipality [may be] liable for a risk it should
 have known even if all of its employees in supervisory roles did not know of the risk and are thus
 not liable. Compare Canton, 489 U.S. at 390 & n. 10, 109 S.Ct. 1197 (explaining a municipality
 may be liable because the risk was "obvious" or "must have been plainly obvious"), and id. at
 396, 109 S.Ct. 1197 (O'Connor, J ., concurring and dissenting) (emphasizing that "actual or
 constructive notice" is enough).

 As to the elements, see the oft cited case: Russo v. City of Cincinnati, 953 F.2d 1036, 1046 (6th
 Cir. 1992):

        To establish liability under City of Canton, "the plaintiff must prove ... that the training
        program at issue is inadequate to the tasks that officers must perform; that the inadequacy
        is the result of the city's deliberate indifference; and that the inadequacy is 'closely
        related to' or 'actually caused' the plaintiffs injury." Hill v. Mcintyre, 884 F.2d 271, 275
        (6th Cir.1989) (citing City of Canton).

 Plaintiffs note that there is no requirement to identify the policy makers, or affirmatively prove
 what they did not know. See bold sections below from Cash v. Cnty. of Erie, allowing
 constructive notice and requiring personnel from the County to be proactive.

 Definition of "deliberate indifference", O'Malley et al., Fed. Jury Prac & Instructions Civil (6th
 ed.) §165.41

 1-8 Silver, Police Civil Liability §8.07[8] (Matthew Bender revised edition)-Supervisory
 Liability and Municipal Liability

 1-8 Silver, Police Civil Liability §8.08[b][i] (Matthew Bender revised edition)-"Practice" as
 Policy

 1-8 Silver, Police Civil Liability §8.08[b][iv] (Matthew Bender revised edition)-Informal
 Policy or Custom

1-8 Silver, Police Civil Liability §8.08[ d] (Matthew Bender revised edition)-"Systemic
Deficiencies" (Among the great difficulties of applying a "policy or custom" analysis is the
question whether a municipality may be held liable for deprivation of constitutional rights caused
by a concatenation of policies and practices, perhaps by different agencies. In this situation, it is
uncertain whether any particular policy violated a right and, indeed, just which municipal agency
or official "caused" the deprivation. Although liability may be conceptually difficult to justify,
courts have held that an employer may be sued in these situations. (internal citations omitted))

SM v. Krigbaum, No. 14-3704 at 8 (8th Cir. Dec. 9, 2015) ("The Drug Court's multi-agency
membership resulted in significant confusion and ignorance regarding who was supervising
Edwards on a day-to-day basis when he served as tracker.")

City of Canton v. Harris, 489 U.S. 3787, 388 (1989).
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 21 of 41 PageID #: 2402



 Ware v. Jackson County, Mo., 150 F.2d 873, 882-884 (8th Cir. 1989).

 See also Cash v. Cnty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011):

        A municipal policy may be pronounced or tacit and reflected in either action or inaction.
        In the latter respect, a "city's policy of inaction in light of notice that its program will
        cause constitutional violations is the functional equivalent of a decision by the city itself
        to violate the Constitution." Connick v. Thompson, 131 S. Ct. 1350, 1360(2011)
        (internal quotation marks omitted); see also City of Canton v. Harris, 489 U.S. 378, 396
        (1989) (O'Connor, J., concurring in part and dissenting in part) ("Where a § 1983
        plaintiff can establish that the facts available to city policymakers put them on
        actual or constructive notice that the particular omission is substantially certain to
        result in the violation of the constitutional rights of their citizens, the dictates of
        Monell are satisfied"). Consistent with this principle, "where a policymaking official
        exhibits deliberate indifference to constitutional deprivations caused by subordinates,
        such that the official's inaction constitutes a deliberate choice, that acquiescence may be
        properly thought of as a city policy or custom that is actionable under§ 1983." Amnesty
        Am. v. Town of W Har~ford, 361 F.3d 113, 126 (2d Cir.2004) (Sotomayor, J.) (internal
        quotation marks omitted).

        Deliberate indifference may be inferred where "the need for more or better supervision to
        protect against constitutional violations was obvious," Vann v. City of New York, 72 F.3d
        1040, 1049 (2d Cir.1995), but the policymaker "fail [ed] to make meaningful efforts to
        address the risk of harm to plaintiffs," Reynolds v. Giuliani, 506 F.3d 183, 192 (2d
        Cir.2007); see also Board of Cnty. Comm 'rs v. Brown, 520 U.S. 397, 407 (1997) (holding
        that deliberate indifference requires proof that "municipal actor disregarded a known or
        obvious consequence of his action" (internal quotation marks omitted)); Walker v. City of
        New York, 974 F.2d 293, 297-98 (2d Cir.1992) (framing deliberate indifference inquiry
        in three parts: (1) policymaker knows "to a moral certainty" that its employees will
        confront a given situation; (2) either situation presents employees with difficult choice
        that will be made less so by training or supervision, or there is a record of employees
        mishandling situation; and (3) wrong choice by employees will frequently cause
        deprivation of constitutional rights (internal quotation marks omitted)).

       The existence of an affirmative duty to protect does not mean that any harm that befalls a
       person in state custody necessarily manifests a municipal policy of deliberate indifference
       to prisoner safety. But an affirmative duty, by its nature, implies a proactive
       responsibility to assess the risks of harm presented by given circumstances and to
       take reasonable preventive measures in advance of harm occurring, not simply to
       respond to harms only after they occur. Cf Farmer v. Brennan, 511 U.S. 825, 845
       (1994) (observing that deliberate indifference showing in parallel Eighth Amendment
       context "does not require a prisoner seeking a remedy for unsafe conditions to await a
       tragic event such as an actual assault before obtaining relief' (internal quotation marks
       and brackets omitted)).

 See also: O'Malley et al., FJI Civil Companion Handbook (2015-2016) §9:4
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 22 of 41 PageID #: 2403



                                     INSTRUCTION NO. ,           1lt7
         If you find in favor of a plaintiff, you must award her an amount of money that will
  fairly compensate her for any damages you find she sustained as a direct result of the violation
  of that plaintiffs constitutional rights. You should consider the following elements of
  damages:
                The physical pain and emotional suffering that plaintiff has experienced and is
                reasonably certain to experience in the future; the nature and extent of the
                injury, and whether the injury is temporary or permanent.
 Remember, throughout your deliberations you must not engage in speculation, guess, or
 conjecture, and you must not award any damages under this Instruction by way of punishment or
 through sympathy.


 Tendered by Plaintiff
 8th Circuit Model Jury Instructions, 4. 70
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 23 of 41 PageID #: 2404



                                                VERDICT A



  Note:              Complete this form by writing in the names required by your verdict.



           On Plaintiff Sarah Mayers claim against defendant Lincoln County, as submitted in
  Instruction No.   -15_ we find in favor of:

                    (Plaintiff Sarah Mayers)        or             (Defendant Lincoln County)

 Note:               Complete the following paragraphs only if the above finding is in favor of the
                     Plaintiff.

           We find Plaintiff Sarah Mayers' damages to be:

 $ ~~~~~~~~~~~~~~~-
                                                 (state the amount or, if none, write the word "none")




                                                                       Foreperson

  Dated:


 Tendered by Plaintiffs
 8th Circuit Model Jury Instructions, 4.80
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 24 of 41 PageID #: 2405



                            INSTRUCTION NO. _ _         J_J_____
                          JI
                         \1>            \C\
         Instructions ____ ___ through---'~---- and general instructions
                               1




  _ _ __,____ through _ _~l_2~-- apply to Plaintiff Kayla Walker's claim of

  violation of her constitutional rights. Use Verdict Form B to return your verdict on this claim.
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 25 of 41 PageID #: 2406
  Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 1of21 PagelD #: 2345



                                      INSTRUCTION NO. - - - - -

          Plaintiff Kayla Walker claims to have been injured as a result of Defendant Lincoln

   County's failure to properly supervise Scott Edwards as Drug Court Tracker and that this alleged

  failure may be considered the official policy of Defendant Lincoln County.

          Your verdict will be for Plaintiff Kayla Walker and against Defendant Lincoln County

  only if you find that:

          First: The Lincoln County Sheriff, as policy maker for Defendant Lincoln County, was

  responsible for supervising Scott Edwards as Drug Court Tracker; and

          Second: Defendant Lincoln County's supervision of Scott Edwards as Drug Court

  Tracker was inadequate; and

          Third: The need for supervision by Defendant Lincoln County was so obvious, and the

  inadequacy so likely to result in the violation of Plaintiff Kayla Walker's constitutional rights,

  that the policy maker for Defendant Lincoln County can reasonably be said to have been

  "deliberately indifferent" to the need for such supervision; and

         Fourth: The failure of Defendant Lincoln County to supervise Scott Edwards as Drug

  Court Tracker was the cause of the injuries to Plaintiff Kayla Walker.

         If any of the above elements have not been proved by the greater weight of the evidence,

  then your verdict must be for Defendant Lincoln County, Missouri.

         The definition of "deliberate indifference" to the rights of others is the conscious or

  reckless disregard of the consequences of one's acts or omissions. Deliberate indifference

  requires more than negligence or ordinary lack of due care.

  Tendered by Plaintiff
  Based on Eighth Circuit Model Jury Instructions 4.10 and O'Malley et al., Fed. Jury Prac &
  Instructions Civil (6th ed.)§ 165.27-Failure to Train.

  In element second Plaintiffs have substituted for the O'Malley language "so likely to result in the
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 26 of 41 PageID #: 2407
 Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 2 of 21 PagelD #: 2346




  violation of constitutional rights'', the language "so likely to create a risk of the violations of
  constitutional rights". Plaintiffs make this substitution because of the language in Walton v.
  Dawson, 752 F.3d 1109, 1118 (8th Cir. 2014). A municipality [may be] liable for a risk it should
  have known even if all of its employees in supervisory roles did not know of the risk and are thus
  not liable. Compare Canton, 489 U.S. at 390 & n. 10, 109 S.Ct. 1197 (explaining a municipality
  may be liable because the risk was "obvious" or "must have been plainly obvious"), and id. at
  396, 109 S.Ct. 1197 (O'Connor, J ., concurring and dissenting) (emphasizing that "actual or
  constructive notice" is enough).

  As to the elements, see the oft cited case: Russo v. City of Cincinnati, 953 F.2d 1036, 1046 (6th
  Cir. 1992):

         To establish liability under City of Canton, "the plaintiff must prove ... that the training
         program at issue is inadequate to the tasks that officers must perform; that the inadequacy
         is the result of the city's deliberate indifference; and that the inadequacy is 'closely
         related to' or 'actually caused' the plaintiffs injury." Hill v. Mcintyre, 884 F.2d 271, 275
         (6th Cir.1989) (citing City of Canton).

  Plaintiffs note that there is no requirement to identify the policy makers, or affirmatively prove
  what they did not know. See bold sections below from Cash v. Cnty. of Erie, allowing
  constructive notice and requiring personnel from the County to be proactive.

  Definition of "deliberate indifference'', O'Malley et al., Fed. Jury Prac & Instructions Civil (6th
  ed.) § 165.41

  1-8 Silver, Police Civil Liability §8.07[8] (Matthew Bender revised edition)-Supervisory
  Liability and Municipal Liability

  1-8 Silver, Police Civil Liability §8.08[b][i] (Matthew Bender revised edition}--"Practice" as
  Policy

  1-8 Silver, Police Civil Liability §8.08[b][iv] (Matthew Bender revised edition)-Informal
  Policy or Custom

  1-8 Silver, Police Civil Liability §8.08[ d] (Matthew Bender revised edition}--"Systemic
  Deficiencies" (Among the great difficulties of applying a "policy or custom" analysis is the
  question whether a municipality may be held liable for deprivation of constitutional rights caused
  by a concatenation of policies and practices, perhaps by different agencies. In this situation, it is
  uncertain whether any particular policy violated a right and, indeed, just which municipal agency
  or official "caused" the deprivation. Although liability may be conceptually difficult to justify,
  courts have held that an employer may be sued in these situations. (internal citations omitted))

  S.M v. Krigbaum, No. 14-3704 at 8 (8th Cir. Dec. 9, 2015) ("The Drug Court's multi-agency
  membership resulted in significant confusion and ignorance regarding who was supervising
  Edwards on a day-to-day basis when he served as tracker.")

  City of Canton v. Harris, 489 U.S. 3787, 388 (1989).
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 27 of 41 PageID #: 2408
  Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 3 of 21 PagelD #: 2347




   Ware v. Jackson County, Mo., 150 F.2d 873, 882-884 (8th Cir. 1989).

  See also Cash v. Cnty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011):

         A municipal policy may be pronounced or tacit and reflected in either action or inaction.
         In the latter respect, a "city's policy of inaction in light of notice that its program will
         cause constitutional violations is the functional equivalent of a decision by the city itself
         to violate the Constitution." Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011)
         (internal quotation marks omitted); see also City of Canton v. Harris, 489 U.S. 378, 396
         (1989) (O'Connor, J., concurring in part and dissenting in part) ("Where a§ 1983
         plaintiff can establish that the facts available to city policymakers put them on
         actual or constructive notice that the particular omission is substantially certain to
         result in the violation of the constitutional rights of their citizens, the dictates of
         Monell are satisfied"). Consistent with this principle, "where a policymaking official
         exhibits deliberate indifference to constitutional deprivations caused by subordinates,
         such that the official's inaction constitutes a deliberate choice, that acquiescence may be
         properly thought of as a city policy or custom that is actionable under § 1983." Amnesty
         Am. v. Town of W Hartford, 361 F.3d 113, 126 (2d Cir.2004) (Sotomayor, J.) (internal
         quotation marks omitted).

         Deliberate indifference may be inferred where "the need for more or better supervision to
         protect against constitutional violations was obvious," Vann v. City of New York, 72 F.3d
         1040, 1049 (2d Cir.1995), but the policymaker "fail[ ed] to make meaningful efforts to
         address the risk of harm to plaintiffs," Reynolds v. Giuliani, 506 F.3d 183, 192 (2d
         Cir.2007); see also Board ofCnty. Comm'rs v. Brown, 520 U.S. 397, 407 (1997) (holding
         that deliberate indifference requires proof that "municipal actor disregarded a known or
         obvious consequence of his action" (internal quotation marks omitted)); Walker v. City of
         New York, 974 F.2d 293, 297-98 (2d Cir.1992) (framing deliberate indifference inquiry
         in three parts: (1) policymaker knows "to a moral certainty" that its employees will
         confront a given situation; (2) either situation presents employees with difficult choice
         that will be made less so by training or supervision, or there is a record of employees
         mishandling situation; and (3) wrong choice by employees will frequently cause
         deprivation of constitutional rights (internal quotation marks omitted)).

         The existence of an affirmative duty to protect does not mean that any harm that befalls a
         person in state custody necessarily manifests a municipal policy of deliberate indifference
         to prisoner safety. But an affirmative duty, by its nature, implies a proactive
         responsibility to assess the risks of harm presented by given circumstances and to
         take reasonable preventive measures in advance of harm occurring, not simply to
         respond to harms only after they occur. Cf Farmer v. Brennan, 511 U.S. 825, 845
         (1994) (observing that deliberate indifference showing in parallel Eighth Amendment
         context "does not require a prisoner seeking a remedy for unsafe conditions to await a
         tragic event such as an actual assault before obtaining relief' (internal quotation marks
         and brackets omitted)).

  See also: O'Malley et al., FJI Civil Companion Handbook (2015-2016) §9:4
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 28 of 41 PageID #: 2409



                                    INSTRUCTION NO.          l~
         If you find in favor of a plaintiff, you must award her an amount of money that will
  fairly compensate her for any damages you find she sustained as a direct result of the violation
  of that plaintiffs constitutional rights. You should consider the following elements of
  damages:
                The physical pain and emotional suffering that plaintiff has experienced and is
                reasonably certain to experience in the future; the nature and extent of the
                injury, and whether the injury is temporary or permanent.
 Remember, throughout your deliberations you must not engage in speculation, guess, or
 conjecture, and you must not award any damages under this Instruction by way of punishment or
 through sympathy.


 Tendered by Plaintiff
 8th Circuit Model Jury Instructions, 4.70
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 29 of 41 PageID #: 2410



                                                VERDICTB



 Note:              Complete this form by writing in the names required by your verdict.



         On Plaintiff Kayla Walker's claim against defendant Lincoln County, as submitted in
 Instruction No.    lg   we find in favor of:



                   (Plaintiff Kayla Walker)        or             (Defendant Lincoln County)

 Note:              Complete the following paragraphs only if the above finding is in favor of the
                    Plaintiff.

         We find Plaintiff Kayla Walker's damages to be:

 $~~~~~~~~~~~~~~~~
                                                 (state the amount or, if none, write the word "none")




                                                                      Foreperson




 Tendered by Plaintiffs
 8th Circuit Model Jury Instructions, 4.80
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 30 of 41 PageID #: 2411




                           INSTRUCTION NO.-~]!?~----

        Instructions         ?i I            through _ _2.
                                                        __2_.-_ __ and general instructions
 _ _ _ _ _ _ through                I   3>        apply to Plaintiff Keirsten Sooter' s claim of

 violation of her constitutional rights. Use Verdict Form C to return your verdict on this claim.
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 31 of 41 PageID #: 2412
  Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 4 of 21 PagelD #: 2348




                                       INSTRUCTION NO.           ·2'
           PlaintiffKeirsten Sooter claims to have been injured as a result of Defendant Lincoln

   County's failure to properly supervise Scott Edwards as Drug Court Tracker and that this alleged

   failure may be considered the official policy of Defendant Lincoln County.

           Your verdict will be for Plaintiff Keirsten Sooter and against Defendant Lincoln County

   only if you find that:

          First: The Lincoln County Sheriff, as policy maker for Defendant Lincoln County, was

   responsible for supervising Scott Edwards as Drug Court Tracker; and

          Second: Defendant Lincoln County's supervision of Scott Edwards as Drug Court

   Tracker was inadequate; and

          Third: The need for supervision by Defendant Lincoln County was so obvious, and the

   inadequacy so likely to result in the violation of Plaintiff Keirsten Sooter's constitutional rights,

   that the policy maker for Defendant Lincoln County can reasonably be said to have been

   "deliberately indifferent" to the need for such supervision; and

          Fourth: The failure of Defendant Lincoln County to supervise Scott Edwards as Drug

   Court Tracker was the cause of the injuries to Plaintiff Keirsten Sooter.

          If any of the above elements have not been proved by the greater weight of the evidence,

   then your verdict must be for Defendant Lincoln County, Missouri.

          The definition of "deliberate indifference" to the rights of others is the conscious or

   reckless disregard of the consequences of one's acts or omissions. Deliberate indifference

   requires more than negligence or ordinary lack of due care.

   Tendered by Plaintiff
   Based on Eighth Circuit Model Jury Instructions 4.10 and O'Malley et al., Fed. Jury Prac &
   Instructions Civil (6th ed.)§ 165.27-Failure to Train.

   In element second Plaintiffs have substituted for the O'Malley language "so likely to result in the
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 32 of 41 PageID #: 2413
  Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 5 of 21 PagelD #: 2349



   violation of constitutional rights'', the language "so likely to create a risk of the violations of
   constitutional rights". Plaintiffs make this substitution because of the language in Walton v.
   Dawson, 752 F.3d 1109, 1118 (8th Cir. 2014). A municipality [may be] liable for a risk it should
   have known even if all of its employees in supervisory roles did not know of the risk and are thus
   not liable. Compare Canton, 489 U.S. at 390 & n. l 0, l 09 S.Ct. 1197 (explaining a municipality
   may be liable because the risk was "obvious" or "must have been plainly obvious"), and id. at
   396, l 09 S.Ct. 1197 (O'Connor, J., concurring and dissenting) (emphasizing that "actual or
   constructive notice" is enough).

   As to the elements, see the oft cited case: Russo v. City of Cincinnati, 953 F.2d 1036, 1046 (6th
   Cir. 1992):

          To establish liability under City of Canton, "the plaintiff must prove ... that the training
          program at issue is inadequate to the tasks that officers must perform; that the inadequacy
          is the result of the city's deliberate indifference; and that the inadequacy is 'closely
          related to' or 'actually caused' the plaintiffs injury." Hill v. Mcintyre, 884 F.2d 271, 275
          (6th Cir.1989) (citing City of Canton).

   Plaintiffs note that there is no requirement to identify the policy makers, or affirmatively prove
   what they did not know. See bold sections below from Cash v. Cnty. of Erie, allowing
   constructive notice and requiring personnel from the County to be proactive.

   Definition of "deliberate indifference", O'Malley et al., Fed. Jury Prac & Instructions Civil (6th
   ed.) §165.41

  1-8 Silver, Police Civil Liability §8.07[8] (Matthew Bender revised edition}--Supervisory
  Liability and Municipal Liability

  1-8 Silver, Police Civil Liability §8.08[b][i] (Matthew Bender revised edition)-"Practice" as
  Policy

  1-8 Silver, Police Civil Liability §8.08[b ][iv] (Matthew Bender revised edition)-Informal
  Policy or Custom

  1-8 Silver, Police Civil Liability §8.08[ d] (Matthew Bender revised edition)-"Systemic
  Deficiencies" (Among the great difficulties of applying a "policy or custom" analysis is the
  question whether a municipality may be held liable for deprivation of constitutional rights caused
  by a concatenation of policies and practices, perhaps by different agencies. In this situation, it is
  uncertain whether any particular policy violated a right and, indeed, just which municipal agency
  or official "caused" the deprivation. Although liability may be conceptually difficult to justify,
  courts have held that an employer may be sued in these situations. (internal citations omitted))

  SM v. Krigbaum, No. 14-3704 at 8 (8th Cir. Dec. 9, 2015) ("The Drug Court's multi-agency
  membership resulted in significant confusion and ignorance regarding who was supervising
  Edwards on a day-to-day basis when he served as tracker.")

  City of Canton v. Harris, 489 U.S. 3787, 388 (1989).
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 33 of 41 PageID #: 2414
  Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 6 of 21 PagelD #: 2350



   Ware v. Jackson County, Mo., 150 F.2d 873, 882-884 (8th Cir. 1989).

   See also Cash v. Cnty. of Erie, 654 F .3d 324, 334 (2d Cir. 2011 ):

          A municipal policy may be pronounced or tacit and reflected in either action or inaction.
          In the latter respect, a "city's policy of inaction in light of notice that its program will
          cause constitutional violations is the functional equivalent of a decision by the city itself
          to violate the Constitution." Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011)
          (internal quotation marks omitted); see also City of Canton v. Harris, 489 U.S. 378, 396
          (1989) (O'Connor, J., concurring in part and dissenting in part) ("Where a§ 1983
          plaintiff can establish that the facts available to city policymakers put them on
          actual or constructive notice that the particular omission is substantially certain to
          result in the violation of the constitutional rights of their citizens, the dictates of
          Monell are satisfied"). Consistent with this principle, "where a policymaking official
          exhibits deliberate indifference to constitutional deprivations caused by subordinates,
          such that the official's inaction constitutes a deliberate choice, that acquiescence may be
          properly thought of as a city policy or custom that is actionable under§ 1983." Amnesty
          Am. v. Town of W Hartford, 361F.3d113, 126 (2d Cir.2004) (Sotomayor, J.) (internal
          quotation marks omitted).

          Deliberate indifference may be inferred where "the need for more or better supervision to
          protect against constitutional violations was obvious," Vann v. City of New York, 72 F.3d
           1040, 1049 (2d Cir.1995), but the policymaker "fail[ ed] to make meaningful efforts to
          address the risk of harm to plaintiffs," Reynolds v. Giuliani, 506 F.3d 183, 192 (2d
          Cir.2007); see also Board ofCnty. Comm'rs v. Brown, 520 U.S. 397, 407 (1997) (holding
          that deliberate indifference requires proof that "municipal actor disregarded a known or
          obvious consequence of his action" (internal quotation marks omitted)); Walker v. City of
          New York, 974 F .2d 293, 297-98 (2d Cir.1992) (framing deliberate indifference inquiry
          in three parts: (1) policymaker knows "to a moral certainty" that its employees will
          confront a given situation; (2) either situation presents employees with difficult choice
          that will be made less so by training or supervision, or there is a record of employees
          mishandling situation; and (3) wrong choice by employees will frequently cause
          deprivation of constitutional rights (internal quotation marks omitted)).

          The existence of an affirmative duty to protect does not mean that any harm that befalls a
          person in state custody necessarily manifests a municipal policy of deliberate indifference
          to prisoner safety. But an affirmative duty, by its nature, implies a proactive
          responsibility to assess the risks of harm presented by given circumstances and to
          take reasonable preventive measures in advance of harm occurring, not simply to
          respond to harms only after they occur. Cf Farmer v. Brennan, 511 U.S. 825, 845
          (1994) (observing that deliberate indifference showing in parallel Eighth Amendment
          context "does not require a prisoner seeking a remedy for unsafe conditions to await a
          tragic event such as an actual assault before obtaining relief' (internal quotation marks
          and brackets omitted)).

   See also: O'Malley et al., FJI Civil Companion Handbook (2015-2016) §9:4
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 34 of 41 PageID #: 2415



                                    INSTRUCTION No.        J:::V
         If you find in favor of a plaintiff, you must award her an amount of money that will
  fairly compensate her for any damages you find she sustained as a direct result of the violation
  of that plaintiffs constitutional rights. You should consider the following elements of
  damages:
                The physical pain and emotional suffering that plaintiff has experienced and is
                reasonably certain to experience in the future; the nature and extent of the
                injury, and whether the injury is temporary or permanent.
        Remember, throughout your deliberations you must not engage in speculation, guess, or
 conjecture, and you must not award any damages under this Instruction by way of punishment or
 through sympathy.


 Tendered by Plaintiff
 8th Circuit Model Jury Instructions, 4.70
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 35 of 41 PageID #: 2416



                                                VERDICTC



 Note:             Complete this form by writing in the names required by your verdict.




           On Plaintiff Keirsten Sooter's claim against defendant Lincoln County, as submitted in
 Instruction No. }:_}_we find in favor of:



                  (Plaintiff Keirsten Sooter)      or            (Defendant Lincoln County)

 Note:             Complete the following paragraphs only if the above finding is in favor of the
                   Plaintiff.

           We find Plaintiff Keirsten Sooter's damages to be:

 $_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _(state the amount or, if none, write the word "none")




                                                                     Foreperson

  Dated:    --------~




 Tendered by Plaintiffs
 8th Circuit Model Jury Instructions, 4.80
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 36 of 41 PageID #: 2417



                            INSTRUCTION NO.            9--)
                                                   ~~----~--




         Instructions         21                    "JF/
                                          through _z_::l~----- and general instructions

  _ _ _ __,___through _ _I_,~--- apply to Plaintiff Lisa Mangold's claim of

  violation of her constitutional rights. Use Verdict Form D to return your verdict on this claim.
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 37 of 41 PageID #: 2418
  Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 7 of 21 PagelD #: 2351



                                       INSTRUCTION NO.           2.-f
                                                              --~--




           Plaintiff Lisa Mangold claims to have been injured as a result of Defendant Lincoln

   County's failure to properly supervise Scott Edwards as Drug Court Tracker and that this alleged

   failure may be considered the official policy of Defendant Lincoln County.

           Your verdict will be for Plaintiff Lisa Mangold and against Defendant Lincoln County

   only if you find that:

          First: The Lincoln County Sheriff, as policy maker for Defendant Lincoln County, was

   responsible for supervising Scott Edwards as Drug Court Tracker; and

          Second: Defendant Lincoln County's supervision of Scott Edwards as Drug Court

   Tracker was inadequate; and

          Third: The need for supervision by Defendant Lincoln County was so obvious, and the

   inadequacy so likely to result in the violation of Plaintiff Lisa Mangold's constitutional rights,

   that the policy maker for Defendant Lincoln County can reasonably be said to have been

   "deliberately indifferent" to the need for such supervision; and

          Fourth: The failure of Defendant Lincoln County to supervise Scott Edwards as Drug

   Court Tracker was the cause of the injuries to Plaintiff Lisa Mangold.

          If any of the above elements have not been proved by the greater weight of the evidence,

   then your verdict must be for Defendant Lincoln County, Missouri.

          The definition of "deliberate indifference" to the rights of others is the conscious or

   reckless disregard of the consequences of one's acts or omissions. Deliberate indifference

   requires more than negligence or ordinary lack of due care.

   Tendered by Plaintiff
   Based on Eighth Circuit Model Jury Instructions 4.10 and O'Malley et al., Fed. Jury Prac &
   Instructions Civil (6th ed.) §165.27-Failure to Train.

   In element second Plaintiffs have substituted for the O'Malley language "so likely to result in the
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 38 of 41 PageID #: 2419
  Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 8 of 21 PagelD #: 2352



   violation of constitutional rights", the language "so likely to create a risk of the violations of
   constitutional rights". Plaintiffs make this substitution because of the language in Walton v.
   Dawson, 752 F.3d 1109, 1118 (8th Cir. 2014). A municipality [may be] liable for a risk it should
   have known even if all of its employees in supervisory roles did not know of the risk and are thus
   not liable. Compare Canton, 489 U.S. at 390 & n. 10, 109 S.Ct. 1197 (explaining a municipality
   may be liable because the risk was "obvious" or "must have been plainly obvious"), and id. at
   396, 109 S.Ct. 1197 (O'Connor, J., concurring and dissenting) (emphasizing that "actual or
   constructive notice" is enough).

   As to the elements, see the oft cited case: Russo v. City of Cincinnati, 953 F.2d 1036, 1046 (6th
   Cir. 1992):

          To establish liability under City of Canton, "the plaintiff must prove ... that the training
          program at issue is inadequate to the tasks that officers must perform; that the inadequacy
          is the result of the city's deliberate indifference; and that the inadequacy is 'closely
          related to' or 'actually caused' the plaintiffs injury." Hill v. Mcintyre, 884 F.2d 271, 275
          (6th Cir.1989) (citing City of Canton).

   Plaintiffs note that there is no requirement to identify the policy makers, or affirmatively prove
   what they did not know. See bold sections below from Cash v. Cnty. of Erie, allowing
   constructive notice and requiring personnel from the County to be proactive.

   Definition of "deliberate indifference", O'Malley et al., Fed. Jury Prac & Instructions Civil (6th
   ed.) §165.41

   1-8 Silver, Police Civil Liability §8.07[8] (Matthew Bender revised edition)--Supervisory
   Liability and Municipal Liability

   1-8 Silver, Police Civil Liability §8.08[b][i] (Matthew Bender revised edition)-"Practice" as
   Policy

   1-8 Silver, Police Civil Liability §8.08[b][iv] (Matthew Bender revised edition)--Informal
   Policy or Custom

   1-8 Silver, Police Civil Liability §8.08[d] (Matthew Bender revised edition)-"Systemic
   Deficiencies" (Among the great difficulties of applying a "policy or custom" analysis is the
   question whether a municipality may be held liable for deprivation of constitutional rights caused
   by a concatenation of policies and practices, perhaps by different agencies. In this situation, it is
   uncertain whether any particular policy violated a right and, indeed, just which municipal agency
   or official "caused" the deprivation. Although liability may be conceptually difficult to justify,
   courts have held that an employer may be sued in these situations. (internal citations omitted))

   SM v. Krigbaum, No. 14-3704 at 8 (8th Cir. Dec. 9, 2015) ("The Drug Court's multi-agency
   membership resulted in significant confusion and ignorance regarding who was supervising
   Edwards on a day-to-day basis when he served as tracker.")

   City of Canton v. Harris, 489 U.S. 3787, 388 (1989).
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 39 of 41 PageID #: 2420
  Case: 4:12-cv-02276-PLC Doc.#: 188-1 Filed: 07/13/16 Page: 9 of 21 PagelD #: 2353




   Ware v. Jackson County, Mo., 150 F.2d 873, 882-884 (8th Cir. 1989).

   See also Cash v. Cnty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011):

          A municipal policy may be pronounced or tacit and reflected in either action or inaction.
          In the latter respect, a "city's policy of inaction in light of notice that its program will
          cause constitutional violations is the functional equivalent of a decision by the city itself
          to violate the Constitution." Connick v. Thompson, 131 S. Ct. 1350, 1360 (2011)
          (internal quotation marks omitted); see also City of Canton v. Harris, 489 U.S. 378, 396
          (1989) (O'Connor, J ., concurring in part and dissenting in part) ("Where a § 1983
          plaintiff can establish that the facts available to city policymakers put them on
          actual or constructive notice that the particular omission is substantially certain to
          result in the violation of the constitutional rights of their citizens, the dictates of
          Monell are satisfied"). Consistent with this principle, "where a policymaking official
          exhibits deliberate indifference to constitutional deprivations caused by subordinates,
          such that the official's inaction constitutes a deliberate choice, that acquiescence may be
          properly thought of as a city policy or custom that is actionable under § 1983." Amnesty
          Am. v. Town of W Hartford, 361 F.3d 113, 126 (2d Cir.2004) (Sotomayor, J.) (internal
          quotation marks omitted).

          Deliberate indifference may be inferred where "the need for more or better supervision to
          protect against constitutional violations was obvious," Vann v. City ofNew York, 72 F.3d
          1040, 1049 (2d Cir.1995), but the policymaker "fail[ ed] to make meaningful efforts to
          address the risk of harm to plaintiffs," Reynolds v. Giuliani, 506 F .3d 183, 192 (2d
          Cir.2007); see also Board ofCnty. Comm'rs v. Brown, 520 U.S. 397, 407 (1997) (holding
          that deliberate indifference requires proof that "municipal actor disregarded a known or
          obvious consequence of his action" (internal quotation marks omitted)); Walker v. City of
          New York, 974 F .2d 293, 297-98 (2d Cir.1992) (framing deliberate indifference inquiry
          in three parts: (1) policymaker knows "to a moral certainty" that its employees will
          confront a given situation; (2) either situation presents employees with difficult choice
          that will be made less so by training or supervision, or there is a record of employees
          mishandling situation; and (3) wrong choice by employees will frequently cause
          deprivation of constitutional rights (internal quotation marks omitted)).

         The existence of an affirmative duty to protect does not mean that any harm that befalls a
         person in state custody necessarily manifests a municipal policy of deliberate indifference
         to prisoner safety. But an affirmative duty, by its nature, implies a proactive
         responsibility to assess the risks of harm presented by given circumstances and to
         take reasonable preventive measures in advance of harm occurring, not simply to
         respond to harms only after they occur. Cf Farmer v. Brennan, 511 U.S. 825, 845
         (1994) (observing that deliberate indifference showing in parallel Eighth Amendment
         context "does not require a prisoner seeking a remedy for unsafe conditions to await a
         tragic event such as an actual assault before obtaining relief' (internal quotation marks
         and brackets omitted)).

   See also: O'Malley et al., FJI Civil Companion Handbook (2015-2016) §9:4
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 40 of 41 PageID #: 2421



                                      INSTRUCTION No.K

          If you find in favor of a plaintiff, you must award her an amount of money that will
   fairly compensate her for any damages you find she sustained as a direct result of the violation
   of that plaintiffs constitutional rights. You should consider the following elements of
   damages:
                 The physical pain and emotional suffering that plaintiff has experienced and is
                 reasonably certain to experience in the future; the nature and extent of the
                 injury, and whether the injury is temporary or permanent.
         Remember, throughout your deliberations you must not engage in speculation, guess, or
  conjecture, and you must not award any damages under this Instruction by way of punishment or
 through sympathy.




 Tendered by Plaintiff
  8th Circuit Model Jury Instructions, 4.70
Case: 4:12-cv-02276-PLC Doc. #: 193 Filed: 07/13/16 Page: 41 of 41 PageID #: 2422



                                               VERDICTD



  Note:              Complete this form by writing in the names required by your verdict.



          On Plaintiff Lisa Mangold's claim against defendant Lincoln County, as submitted in
  Instruction No.   31 we find in favor of:
                    (Plaintiff Lisa Mangold)        or             (Defendant Lincoln County)

  Note:              Complete the following paragraphs only if the above finding is in favor of the
                     Plaintiff.

          We find Plaintiff Lisa Mangold's damages to be:

  $~~~~~~~~~~~~~~~-
                                                 (state the amount or, if none, write the word "none")




                                                                       Foreperson




  Tendered by Plaintiffs
  8th Circuit Model Jury Instructions, 4.80
